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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    JACOB MOYA
7
8                                        IN THE UNITED STATES DISTRICT COURT
9                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              No. 1:07-cr-0302 AWI
                                           )
12                 Plaintiff,              )              STIPULATION AND ORDER TO CONTINUE
                                           )              SENTENCING HEARING
13     v.                                  )
                                           )              DATE: November 21, 2011
14   JACOB MOYA,                           )              TIME: 9:00 A.M.
                                           )              JUDGE: Hon. Anthony W. Ishii
15                 Defendant.              )
     _____________________________________ )
16
17               IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel that the sentencing hearing in the above-captioned matter now set for November 7, 2011, may be
19   continued to November 21, 2011 at 9:00 A.M. to continue to trail case 1:11-cr-0082 AWI.
20               This continuance is at the request of counsel for defendant to allow time for proper preparation
21   of the sentencing hearing. Defense is currently collecting letters from family and friends on behalf of Mr.
22   Moya and needs some additional time to properly present these items. As this hearing is a sentencing
23   hearing on a supervised release violation, no exclusion of time is necessary.
24   ///
25   ///
26   ///
27   ///
28   ///

     Moya - Stipulation and Proposed Order
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1                                                     BENJAMIN B. WAGNER
                                                      United States Attorney
2
3    DATED: November 2, 2011                     By: /s/ Yasin Mohammad
                                                    YASIN MOHAMMAD
4                                                   Assistant United States Attorney
                                                    Attorney for Plaintiff
5
6
7                                                     DANIEL J. BRODERICK
                                                      Federal Defender
8
9    DATED: November 2, 2011                     By: /s/ Charles J. Lee
                                                    CHARLES J. LEE
10                                                  Assistant Federal Defender
                                                    Attorney for Defendant
11                                                  JACOB MOYA
12
13
14
15                                            ORDER
16   IT IS SO ORDERED.
17
     Dated:       November 3, 2011
18   0m8i78                                            CHIEF UNITED STATES DISTRICT JUDGE
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     Moya - Stipulation and Proposed Order        2
